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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION




IN RE GEORGIA SENATE BILL 202                         Master Case No.

                                                     1:21-MI-55555-JPB



SIXTH DISTRICT OF THE AFRICAN
METHODIST EPISCOPAL CHURCH, a
Georgia nonprofit organization, et al.

        Plaintiffs,                                      Case No.
VS.                                                  1:21-cv-01284-JPB
BRIAN KEMP, Governor of the State of
Georgia in his official capacity, et al.,

        Defendants.



                             CERTIFICATE OF SERVICE

   PLAINTIFFS THE ARC OF THE UNITED STATES AND GEORGIA

   MUSLIM VOTER PROJECT SUPPLEMENTAL PRODUCTION OF

                                         DOCUMENTS




CERTIFICATE OF SERVICE
PLAINTIFFS’ SUPPLEMENTAL PRODUCTION OF       1             Case No. 1:21-MI-55555-JPB
DOCUMENTS
        Case 1:21-mi-55555-JPB Document 422 Filed 02/17/23 Page 2 of 2




                             CERTIFICATE OF SERVICE

      I hereby certify that on February 10, 2023, February13, 2023 and February

16, 2023, I caused the following to be served by electronic mail on counsel for the

Defendants and Intervenor Defendants:


      1.      Supplemental Production of Documents of Plaintiff The ARC of the

United States (ARC_001526-ARC_001869) and privilege log;

      2.      Supplemental Production of Documents of Plaintiff Georgia Muslim

Voter Project (MVP_000806-MVP_001885).



                                         /s/ Adam S. Sieff
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